             Case 1:22-cv-01408-RDM Document 31 Filed 10/10/23 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL PARKS CONSERVATION
 ASSOCIATION, et al.,

                         Plaintiffs,
                                                          Civil Action No. 1:22-cv-01408-RDM
        v.

 FEDERAL AVIATION
 ADMINISTRATION, et al.,

                         Defendants,

        and

 CAMDEN COUNTY, GEORGIA,

                          Intervenor-Defendant.


      INTERVENOR DEFENDANT CAMDEN COUNTY, GEORGIA’S UNOPPOSED
     MOTION FOR EXTENSION OF TIME TO FILE REPLY IN SUPPORT OF MOTION
                               TO DISMISS

         Intervenor-Defendant Camden County, Georgia (the “County”) respectfully moves for a

two-week extension of its deadline to file a reply in support of the pending Motion to Dismiss. See

ECF Nos. 27, 28. The County’s reply is currently due October 20, 2023, while Federal Defendants’

reply is currently due on October 27, 2023. See July 23, 2023 Minute Order; October 10, 2023

Minute Order. The County seeks a two-week extension, until November 3, 2023, to allow the

County sufficient time after Federal Defendants file their reply to determine whether it will join

Federal Defendants’ reply or to file a separate reply.

//

//

//
        Case 1:22-cv-01408-RDM Document 31 Filed 10/10/23 Page 2 of 2




      Counsel for Plaintiffs and Federal Defendants do not oppose this motion.



Dated: October 10, 2023                   Respectfully submitted,

                                          /s/ Tyler G. Welti
                                          Tyler G. Welti (D.C. Bar No. 1015691)
                                          tgwelti@venable.com
                                          101 California Street, Suite 3800
                                          San Francisco, CA 94111
                                          Phone: 415-653-3714
                                          Fax: 415-653-3755
                                          tgwelti@venable.com

                                          Kathryn K. Floyd (D.C. Bar No. 411027)
                                          VENABLE LLP
                                          600 Massachusetts Ave., N.W.
                                          Washington, DC 20001
                                          Phone: 202-344-4000
                                          Fax: 202-344-8300
                                          kkfloyd@venable.com

                                          Counsel for Proposed Intervenor-Defendant
                                          Camden County, Georgia




                                             2
